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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 MISTER TWISTER, LLC,
                                                              Case No.: 1:19-cv-05091
          Plaintiff,
                                                              Judge Harry D. Leinenweber
 v.
                                                              Magistrate Judge Sunil R. Harjani
 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                 107                                      7-97755
                 108                                      8_47147
                  12                                       bigvip8018
                 138                                        drmp-97
                 139                                      e-suggestion
                 143                                    fashion-store07
                 150                                     global_village
                 157                                   greenteatime2016
                 186                                    little.apple2014
                 193                                       mevtoupf_0
                 201                                     new-star2018
                 209                                       planet-venu
                 219                                     sex-plaza2014
                 251                                        topdollars
                 253                                      trail-blazer21
                 254                                     trs-seller2012
   Case: 1:19-cv-05091 Document #: 37 Filed: 10/21/19 Page 2 of 3 PageID #:1326




            267                                wkfsz784
            268                           wonderfulbuying36588
            271                                  xsyl-52
             87                                 flybaba946
             83                                   brianali


DATED: October 21, 2019              Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-05091 Document #: 37 Filed: 10/21/19 Page 3 of 3 PageID #:1326




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 21, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
